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12 Mike Rudder
13
                      IN THE UNITED STATES DISTRICT COURT
14
                            FOR THE DISTRICT OF ARIZONA
15
16 Mike Rudder,                              Case No.: 2:17-cv-02948-DJH
17
                     Plaintiff,              Hon. Diane J. Humetewa
18
19         vs.
                                             STIPULATION FOR
20 Experian Information                      DISMISSAL WITH
21 Solutions, Inc., et al.,                  PREJUDICE AS TO
                                             DEFENDANT TRANS
22                                           UNION, LLC, ONY
23                   Defendants.
24
25
           Plaintiff and Defendant Trans Union, LLC, through counsel undersigned and
26
27 pursuant to Rule 41(a)(1)(A)(ii), hereby stipulate that the above-captioned action may
28
                                              1
       Case 2:17-cv-02948-DJH Document 53 Filed 09/13/18 Page 2 of 3



1 be dismissed with prejudice against Defendant Trans Union, LLC, only, with each
2
  party to bear its own attorneys’ fees and costs, in accordance with the form of
3
4 dismissal order filed concurrently herewith.
5        DATED this __th day of September, 2018
6
                                               KENT LAW OFFICES
7
8
                                               By: /s/ Trinette G. Kent
9
                                               Trinette G. Kent
10                                             Attorney for Plaintiff
11
12
13
14
15                                             COHEN DOWN QUIGLEY
16
17                                              /s/ J. Neil Stuart w/ consent
                                               Daniel P. Quigley
18                                             J. Neil Stuart
19                                             Attorneys for Trans Union, LLC
20
21
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